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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

THE HONORABLE ORDER OF                                                               Plaintiffs
KENTUCKY COLONELS, INC.

v.                                                        Civil Action No. 3:20CV-132-RGJ &
                                                                              3:23CV-43-RGJ

DAVID WRIGHT, ET AL.                                                              Defendants

                                         * * * * *

                       MEMORANDUM OF HEARING AND ORDER

       The Court conducted a show cause hearing in this matter on April 25, 2023. The official

court reporter was April Dowell. The following counsel participating:

       For Plaintiff(s):     Cornelius E. Coryell and Julye L. Watts.

       For Defendant(s):     David Wright, Pro-Se, participate via Zoom.

       The Court heard arguments by the parties as to the pending motions [DE 99 in 3:20CV-

132] and the permanent injunction [DE 93 in 3:20CV-132]. Testimony was taken as to the

defendant David Wright. The Court being otherwise sufficiently advised; IT IS HEREBY

ORDERED as follows:

       (1)     The motion to appear telephonically or via video conference by defendant David

Wright [DE 114] is GRANTED.

       (2)     The defendant is ORDERED by the Court to comply with the discovery requests

and admissions forthwith. Discovery responses are now due May 2, 2023. Failure to comply

with this order may lead to being held in contempt and the automatic deeming of requests as

admitted. See Fed. R. Civ. P. 36(a)(3). As such, the Honorable Order of Kentucky Colonels,
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Inc.’s Motion for Sanctions for failure to comply with discovery requests [DE 112] is DENIED

AS MOOT without prejudice.

       (3)     The show cause hearing will continue in this matter on May 9, 2023 at 10:00

a.m. before the Honorable Rebecca Grady Jennings, United States District Judge.        The Court

has set aside two hours for this hearing. The defendant will be allowed to participate via Zoom

as well as any further witnesses. Witnesses may also submit an affidavit ahead of time and be

called only to the extent that cross examination is necessary. Exhibits will need to be emailed to

any witness participating via Zoom in advance of the hearing. The Court’s Deputy will forward

a Zoom link before the hearing for the parties to forward to their witnesses and for the

defendant’s use.




                                                          April 26, 2023




Copies to: Counsel & Pro-Se Plaintiff- David Wright

Court Time: 01/45- Contested

Court Reporter: April Dowell
